












&nbsp;

Dismissed and Memorandum Opinion filed September 3,
2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00494-CR

____________

&nbsp;

KOBIOYSHI RAIMNOT KING, JR.,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
400th District Court

Fort Bend County, Texas

Trial Court Cause No.
49838

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the
Clerk of the Court to issue the mandate of the Court immediately.

PER CURIAM

Judgment
rendered and Memorandum Opinion filed September 3, 2009.

Panel
consists of Justices Yates, Frost, and Brown.

Do not
publish C Tex.
R. App. P. 47.2(b).





